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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION
_____________________________________________________________________________________
UNITED STATES OF AMERICA

         Plaintiff,
vs.                                                          Case No.: 2:23-cr-20191-MSN


EMMITT MARTIN, III,
TADARRIUS BEAN, DEMETRIUS
HALEY, DESMOND MILLS, JR.,
AND JUSTIN SMITH

         Defendant.

       NOTICE OF WITHDRAWAL OF AGREEMENT TO ALL STIPULATIONS TO
       AUTHENTICITY AND ADMISSIBILITY OF EVIDENCE AS IT RELATES TO
                       DEFENDANT TADARRIUS BEAN


         COMES NOW Defendant, Tadarrius Bean, by and through his Counsel, and gives this

notice that he formally withdraws his agreement to any and all stipulations to the authenticity

and admissibility of certain evidence, including video clips from body worn camera from the two

scenes on the night of January 7, 2023 and clips from body worn camera that Government

desires to introduce as Rule 404(b) evidence. his response in opposition to United States’ Motion

to Exclude Improper Expert Testimony Regarding the Use of Force by Defendant Bean. In

support thereof, Defendant Bean would state as follows:

      1. The Government previously discussed with attorneys for Defendants about stipulating to

         the authenticity and admissibility of certain evidence, including video clips from body

         worn camera from the two scenes on the night of January 7, 2023, and clips from body

         worn camera that Government desires to introduce as Rule 404(b) evidence.




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  2. After reading the Government’s trial brief and Motion to Introduce BodyWorn Camera

     Video Clips Containing Statements by the Defendants, Their Co-Conspirators, and their

     Victim, it has become clear the Government has attempted to deceive the Defendants and

     twist the stipulations that were agreed to on Wednesday, September 4, 2024, as there are

     assertions that were not agreed to that were included in the trial brief.

  3. It has become obvious that the Government deceitfully wanted the Defendants to agree to

     certain stipulations as it relates to certain videos, only for the Government to attempt to

     ask the Court, after the agreement, to limit the purposes of the videos only to the portions

     the Government desires to introduce and restrict the full and complete videos and restrict

     Defendants from introducing other portions of the same videos.

  4. After reading the Government’s trial brief and motion, Counsel for Defendant Bean

     anticipates that the Government will make hearsay objections to and will attempt to

     exclude other portions of the videos that they do not find favorable to their case, however

     the videos would not be used to offer any statements contained in the video for the truth

     of the matter. Rather the videos are excellent evidence to show the dangerous

     environments and unsuspecting circumstances that the Defendants faced on a daily basis.

  5. In the recent days following September 4, 2024, it has become abundantly clear that the

     Government wishes to cherry pick snippets of videos showing officers acting in a certain

     manner and conceal or restrict other evidence and testimony- from the exact same videos

     the government desires to use- that is not only less favorable to the Government, but

     completely dismantles the illusion and deceitfulness the Government wants this Court

     and the jury to ultimately buy into. This action is shown by the Government releasing

     certain potential witnesses that are within reach only through the power and resources of


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       the Government, because the Government does not want certain information harmful to

       their case being introduced on cross-examination.

   6. When looking at the full and complete video clips, it is clear that not only were the

       actions of the Defendants in this matter trained into the minds of the Defendants from the

       police academy, but the videos also show the Defendants in each case take every

       reasonable effort under the circumstances they face to safely perform their duty in

       arresting an individual that is actively resisting arrest.

For these reasons, and the outright deceitfulness of the Government’s recent actions, Defendant

Tadarrius Bean hereby gives notice that he withdraws any agreement to any and all stipulations

to the authenticity and admissibility of certain evidence, including video clips from body worn

camera from the two scenes on the night of January 7, 2023 and clips from body worn camera

that Government desires to introduce as Rule 404(b) evidence.



                                                               Respectfully submitted,

                                                                PERRY GRIFFIN, PC
                                                                /s/ John Keith Perry, Jr.
                                                                John Keith Perry, Jr., #24283
                                                                Attorney for Defendant
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                                CERTIFICATE OF SERVICE

       I, John Keith Perry, certify that I have filed a true and correct copy of the above and

foregoing with the Clerk of the Court using the ECF system, which sent notification of such

filing to counsel of record.



This the 6th day of September 2024.
                                                             /s/ John Keith Perry, Jr.________
                                                             JOHN KEITH PERRY, JR.




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